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         Attorneys for Defendant
         GT’s Living Foods, LLC
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    15
                             UNITED STATES DISTRICT COURT
    16
                           CENTRAL DISTRICT OF CALIFORNIA
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         Tortilla Factory, LLC,                  Case No. 2:17-CV-07539-FMO
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                           Plaintiff,             THIRD STIPULATION TO
    20                                            EXTEND POST-TRIAL
               v.                                 BRIEFING DEADLINES
    21
         GT’s Living Foods, LLC,                 Trial Dates: June 7 & 8, 2022
    22                                           Judge: Fernando M. Olguin
                           Defendant.
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                                                           THIRD STIPULATION TO EXTEND
                                                          POST-TRIAL BRIEFING DEADLINES
                                                               CASE NO. 2:17-CV-07539-FMO
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     1           Pursuant to Local Rule 7-1 of the United States District Court for the Central
     2   District of California, Plaintiff Tortilla Factory, LLC and Defendant GT’s Living
     3   Foods, LLC hereby stipulate as follows:
     4           WHEREAS, the Court held a bench trial on June 7, 2022, and June 8, 2022;
     5           WHEREAS, pursuant to the bench trial, the Court ordered each party to
     6   lodge a Proposed Findings of Fact and Conclusions of Law and file a Memorandum
     7   of Points and Authorities Re: Bench Trial – Liability by August 1, 2022, and file
     8   responsive memoranda of points and authorities by August 15, 2022 (Dkt. 351);
     9           WHEREAS, pursuant to a Joint Stipulation for Order to Extend Post-Trial
    10   Briefing Deadlines (Dkt. 355) the Court ordered each party to lodge a Proposed
    11   Findings of Fact and Conclusions of Law and file a Memorandum of Points and
    12   Authorities Re: Bench Trial – Liability by September 2, 2022, and file responsive
    13   memoranda of points and authorities by September 30, 2022 (Dkt. 356);
    14           WHEREAS, pursuant to a Second Joint Stipulation for Order to Extend
    15   Post-Trial Briefing Deadlines (Dkt. 357) the Court ordered each party to lodge a
    16   Proposed Findings of Fact and Conclusions of Law and file a Memorandum of
    17   Points and Authorities Re: Bench Trial – Liability by September 28, 2022, and file
    18   responsive memoranda of points and authorities by November 11, 2022 (Dkt. 358);
    19           WHEREAS, the Proposed Findings of Fact and Conclusions of Law must be
    20   annotated with specific pinpoint citations to the record and the trial transcript (Dkt.
    21   351);
    22           WHEREAS, both parties have requested a copy of the trial transcript, but
    23   have not yet received the full, final version of the trial transcript from the court
    24   reporter;
    25           WHEREAS, it is unclear when the parties will receive the full, final trial
    26   transcript and the parties have not been able to obtain a date certain on which the
    27   full trial transcript will be completed;
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                                                                    THIRD STIPULATION TO EXTEND
                                                    -2-            POST-TRIAL BRIEFING DEADLINES
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     1         WHEREAS, the parties will need sufficient time after receipt of the full trial
     2   transcript to prepare the Proposed Findings of Fact and Conclusions of Law and file
     3   a Memorandum of Points and Authorities Re: Bench Trial – Liability;
     4         WHEREAS, counsel have other trial and personal commitments during
     5   October, including Ms. Capoccia’s previously scheduled vacation from October 17
     6   to October 30;
     7         WHEREAS, the parties have conferred and agreed to a revised briefing
     8   schedule contingent upon receipt of the full trial transcript by both parties;
     9         NOW THEREFORE, the parties, by and between their respective counsel,
    10   hereby stipulate and respectfully request that the Court issue an order extending the
    11   post-trial briefing deadlines according to the following schedule:
    12             • If the full trial transcript is received by both parties no later than
    13                October 31, 2022, then each party shall lodge a Proposed Findings of
    14                Fact and Conclusions of Law and Memorandum of Points and
    15                Authorities Re: Bench Trial – Liability, on November 18, 2022; and
    16             • Each party shall file a responsive memorandum to the opposing party’s
    17                Proposed Findings of Fact and Conclusions of Law and Memorandum
    18                of Points and Authorities Re: Bench Trial – Liability, on December
    19                20, 2022.
    20             • If the full trial transcript is not received by both parties on or before
    21                October 31, 2022, then the parties shall meet and confer and propose a
    22                revised briefing schedule.
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                                                                    THIRD STIPULATION TO EXTEND
                                                   -3-             POST-TRIAL BRIEFING DEADLINES
                                                                        CASE NO. 2:17-CV-07539-FMO
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     1        Dated: September 21, 2022      O’MELVENY & MYERS LLP
     2

     3                                       By:   /s/ Dawn Sestito
                                                        Dawn Sestito
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    17                                      GT’S LIVING FOODS, LLC
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                                                          THIRD STIPULATION TO EXTEND
                                            -4-          POST-TRIAL BRIEFING DEADLINES
                                                              CASE NO. 2:17-CV-07539-FMO
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     1        Dated: September 21, 2022      JEFFER MANGELS BUTLER &
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                                                                CASE NO. 2:17-CV-07539-FMO
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     1                             SIGNATURE ATTESTATION
     2         I hereby attest that the other signatories listed, on whose behalf the filing is
     3   submitted, concur in the filing’s content and have authorized the filing.
     4

     5         Dated: September 21, 2022            O’MELVENY & MYERS LLP
     6

     7
                                                   By:    /s/ Dawn Sestito
     8                                                    Dawn Sestito
     9                                            Attorney for Defendant
    10                                            GT’s Living Foods, LLC

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                                                                   THIRD STIPULATION TO EXTEND
                                                   -6-            POST-TRIAL BRIEFING DEADLINES
                                                                       CASE NO. 2:17-CV-07539-FMO
